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 5
     Attorney for Defendant
 6   TERRY TONG
 7                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                     ) Case No.: CR-S-06-390EJG
                                                   )
10                  Plaintiff,                     ) STIPULATION AND ORDER
                                                   ) TO CONTINUE SENTENCING
11          vs.                                    )
                                                   )
12   ZHI HUI ZUE, et al.,                          )
                                                   )
13                  Defendant.                     )
                                                   )
14                                                 )
15          THE UNDERSIGNED PARTIES HEREBY STIPULATE and agree for good cause
16
     shown to continue the sentencing for defendant Terry Tong from Friday December 14, 2007 to
17
     Friday February 8, 2007.
18

19

20   Dated: November 28, 2007                                       /s/ Anthony Brass___
                                                                   Anthony Brass
21
                                                                   Attorney for Terry Tong
22

23   Dated: November 28, 2007                                       /s/ Robert Twiss______
                                                                   Robert Twiss
24
                                                                   Assistant United States Attorney
25

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                                          U.S. v. Raymond Foakes
             Case 2:06-cr-00390-WBS Document 85 Filed 11/29/07 Page 2 of 2


 1

 2
                                          ORDER
 3

 4   IT IS SO ORDERED.

 5

 6   Dated: November 28, 2007                     /s/ Edward J. Garcia       _________
                                                  EDWARD J. GARCIAZ M, , /
 7   =
                                                  U. S. DISTRICT COURT JUDGE
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                                    U.S. v. Raymond Foakes
